



 





THIS OPINION HAS NO
  PRECEDENTIAL VALUE.&nbsp; IT SHOULD NOT BE CITED OR RELIED ON AS PRECEDENT IN ANY
  PROCEEDING EXCEPT AS PROVIDED BY RULE 268(d)(2), SCACR.
THE STATE OF SOUTH CAROLINA
In the Court of Appeals

  
    
      
        Michael
          T. McCrea, Petitioner, 
        v.
        State
          of South Carolina, Respondent.
      
    
  


Appeal From Georgetown County
  Larry R.
Patterson, Trial Judge
&nbsp;Steven H. John, Post-Conviction Relief Judge

Unpublished Opinion No. 2009-UP-309
Submitted June 1, 2009  Filed June 11, 2009

APPEAL DISMISSED


  
    
      
        Deputy Chief Appellate Defender Wanda H. Carter, for Petitioner.
        Attorney
          General Henry D. McMaster, Chief Deputy Attorney John W. McIntosh, Assistant
          Deputy Attorney General Salley W. Elliott, and Assistant Attorney General Christina J. Catoe, all of Columbia, for Respondent.&nbsp; 
      
    
  

PER
  CURIAM:&nbsp; Petitioner seeks a writ of certiorari from
  the denial of his application for post-conviction relief (PCR).&nbsp; 
Because
  there is sufficient evidence to support the PCR judge's finding that Petitioner
  did not knowingly and intelligently waive his right to a direct appeal, we grant certiorari and proceed with a review
  of the direct appeal issue pursuant to Davis v. State, 288 S.C. 290, 342
  S.E.2d 60 (1986).
After
  a thorough review of the record and counsels brief, pursuant to Anders v.
    California, 386 U.S. 738 (1967) and State v. Williams, 305 S.C. 116,
  406 S.E.2d 357 (1991), we dismiss[1] Petitioners appeal and grant counsels motion to be
  relieved.
APPEAL
  DISMISSED. 
HUFF, PIEPER, and GEATHERS, JJ., concur.


[1] We decide this case without oral argument pursuant to
  Rule 215, SCACR.

